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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

LICKERISH, LTD., et al.,                    :

      Plaintiffs,                           :

v.                                          :          Civil Action No. GLR-18-3462

GUNAXIN MEDIA, LLC,                         :

       Defendant.                           :

                                        ORDER

       On November 8, 2018, Plaintiffs Lickerish, Ltd., Willy Camden, Stephan Wurth,

Christopher Lane, Damea Dorsey, Zach Ramsey, and Joey Wright commenced this action

against Defendant Gunaxin Media, LLC (“Gunaxin”). (ECF No. 1). Plaintiffs served

Gunaxin on February 1, 2019. (ECF No. 12). Under Federal Rule of Civil Procedure

12(a)(1)(A)(i), Gunaxin’s answer was due twenty-one days after service. To date, the

Court has no record that Gunaxin answered. As a result, on February 25, 2019, the Court

ordered Plaintiffs to file motions for entry of default and for default judgment, or show

cause why such motions would be inappropriate. (Feb. 25, 2019 Order, ECF No. 13). On

February 26, 2019, Plaintiffs filed a Motion for Clerk’s Entry of Default. (ECF No. 14).

The next day, the Clerk entered a default against Gunaxin, (ECF No. 15), and notified

Gunaxin that it had thirty days to vacate the order of default, (ECF No. 16). To date, the

Court has no record Gunaxin moved to vacate the default, and Plaintiffs have not filed a

motion for default judgment.

       Accordingly, it is this 5th day of April, 2019, by the United States District Court

for the District of Maryland, hereby:
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      ORDERED that Plaintiffs file and serve by mail on Gunaxin a motion for default

judgment, or show cause as to why such motion would be inappropriate, within fourteen

(14) days of this Order. Failure to respond to this Order may result in dismissal of the

Complaint without further notice from this Court.



                                                          /s/
                                               George L. Russell, III
                                               United States District Judge




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